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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                Case No.: 1:22-cr-00673-LAK

     -against-

RYAN SALAME,

                 Defendant.




              PETITION FOR A WRIT OF ERROR CORAM NOBIS,
            OR ALTERNATIVELY FOR A WRIT OF AUDITA QUERELA
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                                         INTRODUCTION

        Pursuant to the All Writs Act, 28 U.S.C. § 1651(a), Defendant Ryan Salame respectfully

petitions for a writ of error coram nobis, or of audita querela, to hold the Government to its

assurance that it would not continue investigating Michelle Bond if Salame pleaded guilty or, in

the alternative, to vacate his conviction in this case.

        Although Salame pleaded guilty to multiple counts in this matter, recent developments

confirm that his conviction must be vacated. As shown below, the Government used the plea

negotiations to threaten Salame’s domestic partner and the mother of his child, Michelle Bond. In

an effort to induce Salame’s plea, Government lawyers conveyed that they would discontinue

investigating Bond if Salame pleaded guilty. Considering Salame’s manifest desire to protect

Bond, Salame responded by agreeing to enter into a plea agreement.

        Yet the Government failed to abide by its word, recently resuming its investigation into

Bond and pursuing an indictment against her. In this Circuit, when a defendant enters a plea in

reliance “on a promise … of the prosecutor,” “such promise must be fulfilled.” United States v.

Delvalle, 94 F.4th 262, 268 (2d Cir. 2024) (quoting Santobello v. New York, 404 U.S. 257, 262

(1971)). That precedent requires post-conviction relief here—either an order setting aside the

guilty-plea conviction on the basis of the Government’s breach, or an order for specific

performance of the pledge not to pursue charges against Bond.

        Alternatively, relief should be granted because there are serious questions about the

lawfulness of the Government’s tactics in trying to induce Salame to plead guilty. Indeed,

Government counsel should have been aware that the Supreme Court has long been skeptical of

“a prosecutor’s offer during plea bargaining of adverse or lenient treatment for some person other

than the accused,” as that sort of condition “might pose a greater danger of inducing a false guilty

plea by skewing the assessment of the risks a defendant must consider.” Bordenkircher v. Hayes,
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434 U.S. 357, 365 n.8 (1978). Ignoring that precedent, the Government nonetheless sought to use

Salame’s caring for the mother of his child against him. And that is an independent basis for

granting Salame post-conviction relief.

         To be sure, “the All Writs Act does not confer an independent basis of jurisdiction; it merely

provides a tool … in cases over which jurisdiction is conferred by some other source.” United

States v. Tablie, 166 F.3d 505, 506–07 (2d Cir. 1999). But no independent jurisdictional basis is

necessary to decide the instant petition, which “is a step in the [above-captioned] criminal case

and not … the beginning of a separate civil proceeding.” United States v. Morgan, 346 U.S. 502,

506 n.4 (1954); see also United States v. Valdez-Pacheco, 237 F.3d 1077, 1079 (9th Cir. 2001).

                                               BACKGROUND 1

         Salame was charged by information with one count of conspiracy to make unlawful

political contributions and defraud the Federal Election Commission and one count of conspiracy

to operate an unlicensed money transmitting business. Dkt. No 262. On September 7, 2023,

Salame pleaded guilty to both charges as part of a plea bargain, Dkt. No. 283, and the plea

agreement (“Agreement”) was memorialized in writing. By entering this Agreement, Salame

forewent many available legal defenses to the charges brought against him.

         Before Salame pleaded guilty to these charges and during the Government’s underlying

investigation, the Government conveyed to Salame that it was also investigating separate alleged

campaign-finance violations by Michelle Bond, Salame’s domestic partner and the mother to his

eight-month-old child. Decl. of Ryan Salame ¶ 5 (“Salame Declaration”); Dkt. No. 283 at 21:18–

22:9. Thereafter, during an April 28, 2023 video conference call with Salame’s counsel, Assistant



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  Given the Court’s familiarity with the underlying subject matter, Salame does not provide here a full summary of all
background information. Rather, Salame respectfully refers the Court to previous filings in this matter for a more
thorough discussion of the events that led to his being charged.


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U.S. Attorney Danielle Sassoon read from prepared talking points and explained that, although she

could not put this condition within the four corners of the Agreement (as she said is often the

practice of the office), “if we conclude” the investigation “as to [Salame], that would conclude

th[e] facet of the investigation” into Bond. Salame Decl. ¶ 6. In other words, Sassoon represented

that Salame’s pleading guilty would also terminate the investigation into Bond.

       Salame’s lawyers, who also represented Bond, were surprised by such a direct statement

tying a plea to Bond’s investigation, and they communicated their understanding of this statement

to both Salame and Bond. Salame Decl. ¶ 7. Salame’s lead lawyers had long careers in DOJ, and,

as they relayed to Salame, neither had seen such clear inducement presented in pre-charging

discussions. Id. ¶ 8. That Sassoon was reading from talking points reinforced defense counsel’s

impression that the assurance was sincere, and not a thoughtless or off-hand comment. Indeed,

defense counsel was so certain of the sincerity that, once Salame entered the Agreement, defense

counsel put their file in storage as to Bond, believing the matter had concluded. Id. ¶ 9.

       Based on Sassoon’s representations, Salame signed the Agreement even though it did not

mention the condition regarding Bond and instead included a boilerplate integration clause stating

that the writing “supersedes any prior understandings, promises, or conditions between this Office

and the defendant.” Agreement at 7; Salame Decl. ¶ 10. For similar reasons, when asked at his

plea allocution whether “anyone made any promises other than whatever is set forth in the plea

agreement that induced [him] to plead guilty,” Salame answered in the negative. Dkt. No. 283

at 19:20–23; Salame Decl. ¶ 10. One of Salame’s main motives for accepting the plea arrangement

was his understanding that, if he did so, the Government would not pursue campaign-finance

charges against Bond. Salame Decl. ¶ 12. And he took Government counsel at their word.




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       Yet despite Salame’s cooperation, the Government failed to honor its implied commitment

not to pursue the campaign-finance charges against Bond. Id. ¶ 13. Rather, now that the

Government was able to secure Salame’s plea, it has resumed pursuing charges against Bond.

       The Government’s inducement of a plea has real-life consequences.             In advance of

sentencing, the Government recommended a sentence “within the range of five to seven years’

imprisonment.”    Dkt. No. 436 at 1.       Instead, this Court sentenced Salame to 90 months’

imprisonment followed by three years of supervised release. Dkt. No. 445 at 3–4. The Court also

ordered Salame to pay $500,200 in assessments and fines and $5,593,177.91 in restitution—an

obligation Salame has already satisfied. Dkt. No. 445 at 7. Salame is scheduled to begin his prison

sentence on October 13, 2024. Salame Decl. ¶ 4.

                                          ARGUMENT

       The Government’s actions require post-conviction relief for either of two reasons. First,

binding authority confirms that Government assurances made during plea negotiations must be

fulfilled. Here, the Government failed to follow through on its implied assurances, and thus it falls

to the Court to require the Government to do so. Second, and alternatively, if the Government is

not held to its assurances, the Court should nonetheless grant post-conviction relief because the

assurances made during the plea negotiations were unlawfully coercive, and the entire plea

agreement and conviction must be vacated.

       Accordingly, Salame requests the following relief: (i) holding the Government to its

assurance that Bond would no longer be the subject of investigation, as that assurance induced

Salame’s plea; or (ii) in the alternative, if the foregoing relief is not granted, entering an order

vacating Salame’s conviction.




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I.     The Court has the Authority to Grant the Requested Relief.

       This Court may grant the requested relief in the form of a writ of coram nobis or audita

querela. True, a motion to set aside a guilty-plea conviction based on the government’s breach of

a plea agreement or to obtain specific performance of a plea agreement’s terms would ordinarily

be brought pursuant to 28 U.S.C. § 2255. See United States v. Carbone, 739 F.2d 45, 46 (2d Cir.

1984). But that provision only applies if the petitioner is “in custody,” 28 U.S.C. § 2255(a), and

cannot “be used to question a sentence which the prisoner has not begun to serve,” Heflin v. United

States, 358 U.S. 415, 418 (1959).        Here, Salame has not yet begun serving his term of

imprisonment, and thus he cannot file a Section 2255 motion.

       Nevertheless, “the writs of error coram nobis and audita querela remain available” as

avenues for non-custodial petitioners to seek similar collateral relief “with respect to criminal

convictions. Coram nobis is available to redress an adverse consequence resulting from an

illegally imposed criminal conviction or sentence.” United States v. LaPlante, 57 F.3d 252, 253

(2d Cir. 1995). It “is essentially a remedy of last resort” for convicted defendants who are not “in

custody … [and] therefore cannot pursue direct review or collateral relief by means of a writ of

habeas corpus.” Fleming v. United States, 146 F.3d 88, 89–90 (2d Cir. 1998). Similarly, “[a]udita

querela is probably available where there is a legal, as contrasted with an equitable, objection to a

conviction that has arisen subsequent to the conviction and that is not redressable pursuant to

another post-conviction remedy.” LaPlante, 57 F.3d at 253. “The distinction between the two

writs” is “largely, if not entirely, one of … timing, not substance.” United States v. Sperling, No.

73 CR. 441 (MBM), 2003 WL 21518359, at *4 (S.D.N.Y. July 1, 2003) (Mukasey, J.) (quoting

United States v. Reyes, 945 F.2d 862, 863 n.1 (5th Cir. 1991)).

       In this case, the Government failed to honor the implied assurances it gave to secure

Salame’s guilty plea, which any reasonable person would have interpreted as an assurance that the


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Government would discontinue any investigation of Bond. Indeed, even if the Government were

to argue that it caveated its assurance or attempted to walk it back later, it was clearly intended to

be taken as a promise. Alternatively, the Government’s conditioning its investigation of Bond on

Salame’s pleading guilty rendered Salame’s plea not truly voluntary.

        In the former scenario, Salame’s guilty-plea conviction would have been rendered invalid

by virtue of the Government’s subsequent violation of its own commitments, in which case a writ

of audita querela would lie. See United States v. Khalaf, 116 F. Supp. 2d 210, 217 (D. Mass. 1999);

United States v. Ghebreziabher, 701 F. Supp. 115, 117 (E.D. La. 1988); United States v. Garcia, -

- F. Supp. 3d --, 2024 WL 3413997, at *7 (D.N.M. 2024); United States v. Elenes-Lopez, No. CR-

75-447-PHX-CAM, 1990 WL 10023717, at *3 (D. Ariz. Sept. 19, 1990); United States v.

Espinoza-Soto, No. CIV. 94-662 TUC RMB, 1994 WL 16013615, at *2 (D. Ariz. Oct. 24, 1994);

United States v. Robinson, No. 15-CR-00010-SI-3, 2019 WL 1560447, at *5, *6 (N.D. Cal. Apr.

10, 2019). In the latter scenario, the Government’s plea condition would have been invalid at the

time Salame’s plea was entered and thus could be challenged via petition for a writ of coram nobis.

See United States v. Carlino, 400 F.2d 56, 57–58 (2d Cir. 1968); Dean v. United States, 418 F.

Supp. 2d 149, 155, 157 (E.D.N.Y. 2006). Either way, Salame is entitled to relief, and even

“misstyl[ing] his motion” would not be a basis to “bar[] [Salame] from an appropriate remedy.”

28 U.S.C. § 2255 advisory committee’s notes to Rule 2. Rather, “[t]he court should construe it as

whichever one is proper under the circumstances and decide it on its merits.” Id.; accord United

States v. DeMartino, 112 F.3d 75, 81 (2d Cir. 1997).

        Once it is established that the Court may enter a writ of coram nobis or audita querela, the

Court turns to Section 2255 proceedings for guidance on the applicable procedures. 2 “Because of


2
  “Since [a] motion in the nature of … coram nobis is not specifically authorized by any statute enacted by Congress,
the power to grant such relief … come[s] from the all-writs section of the Judicial Code.” Morgan, 346 U.S. at 506


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the similarities between coram nobis proceedings and § 2255 proceedings, the § 2255 procedure

often is applied by analogy in coram nobis cases.” Fleming v. United States, 146 F.3d 88, 90 n.2

(2d Cir. 1998) (quoting Blanton v. United States, 94 F.3d 227, 235 (6th Cir. 1996)). “A motion in

a criminal case … nominally … bearing [the] ancient title … audita querela” also “may be treated

as one under § 2255, because the caption on a document does not matter.” Collins v. Holinka, 510

F.3d 666, 667 (7th Cir. 2007). Thus, the same procedures that govern motions pursuant to § 2255

also govern petitions for writs of coram nobis or audita querela.

        It follows that, whether this filing is called a § 2255 motion or a petition for a writ of coram

nobis or audita querela, similar principles apply in determining whether Salame is entitled to a

hearing or to discovery. See United States v. Durrani, 115 F. App’x 500, 502–03 (2d Cir. 2004).

His “allegations” need only “cross [a] rather low threshold [to] entitl[e] him to an evidentiary

hearing on his petition ….” United States v. Keogh, 391 F.2d 138, 142 (2d Cir. 1968) (Friendly, J.).

“A petitioner is entitled to a hearing on a writ of error coram nobis” or of audita querela “‘if his

petition alleges facts which would support a claim of deprivation of constitutional right, and some

material issue of fact is in dispute.’” Shen v. United States, No. 1:22-CV-8014-GHW, 2023 WL

4978104, at *5 (S.D.N.Y. Aug. 3, 2023) (quoting United States v. Tribote, 297 F.2d 598, 600, 601

(2d Cir. 1961)). And “‘this Court must, in deciding whether [petitioner] is entitled to a hearing,

assume the facts alleged to be true[.]” Id.

        For instance, the Second Circuit has previously held in one case that the question of

“[w]hether [a coram nobis petitioner] in fact was represented by counsel or whether he can …

show[] that he did not intelligently waive this right can only be determined in a hearing. That



(citing 28 U.S.C. § 1651(a)). “A writ of audita querela is” likewise available “under the All Writs Act, 28 U.S.C.
§ 1651(a).” United States v. Aller, 486 F. Supp. 3d 752, 764 (S.D.N.Y. 2020) (quoting Persico v. United States, 418
F. App’x 24, 25 (2d Cir. 2011)).


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hearing may be had upon affidavits or other evidentiary matter … and would not necessarily

require that [the petitioner] be brought to the [district court] to testify orally. But unless the

affidavits clearly show that [his] contention is without foundation, he should be present at the

hearing and be permitted to testify.” United States v. Morgan, 202 F.2d 67, 69 (2d Cir. 1953),

aff’d, 346 U.S. 502 (1954). On appeal, the Supreme Court agreed, explaining that, while “[i]t is

presumed the proceedings were correct and the burden rests on the accused to show otherwise,”

given the “barren” “state of the record,” he “[wa]s entitled to an opportunity to attempt to show

that this conviction was invalid.” Morgan, 346 U.S. at 512–13; see also Keogh, 391 F.2d at 148–

49; cf. Carlino, 400 F.2d at 58; United States v. Wolfson, 558 F.2d 59, 65–66 (2d Cir. 1977).

       Recent Second Circuit caselaw on hearings and discovery in § 2255 proceedings charts a

similar course: “To warrant a hearing, [a § 2255] motion must set forth specific facts supported by

competent evidence, raising detailed and controverted issues of fact that, if proved at a hearing,

would entitle [the movant] to relief.” Gonzalez v. United States, 722 F.3d 118, 131 (2d Cir. 2013).

To be sure, “[i]n determining whether the assertions in a § 2255 motion warrant discovery or a

hearing, the court must also take into account admissions made by the defendant at his plea hearing

…. ‘[S]ubsequent presentation of conclusory allegations unsupported by specifics is subject to

summary dismissal[.]’”     Id. (quoting Blackledge v. Allison, 431 U.S. 63, 74 (1977)).         But

“allegations that [a] plea was induced by an unkept promise [a]re not vague or conclusory where,”

for example, “the motion ‘indicate[s] exactly what the terms of the promise were; when, where,

and by whom the promise had been made; and the identity of one witness to its communication[.]’”

Id. (emphasis omitted) (quoting Blackledge, 431 U.S. at 76). Moreover, a “district judge … may

employ a variety of measures in an effort to avoid the need for an evidentiary hearing.” Chang v.

United States, 250 F.3d 79, 86 (2d Cir. 2001) (quoting Blackledge, 431 U.S. at 81). “It may instead




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be perfectly appropriate … for the district court to proceed by requiring that the record be expanded

to include letters, documentary evidence, and, in an appropriate case, even affidavits.” Id.

       All told, although the Second Circuit has acknowledged the “tendency to try to avoid

hearings in coram nobis and habeas corpus proceedings,” its caselaw has also admonished that a

court “cannot refuse a hearing” simply “because it is improbable that a prisoner can prove his

claims.” Tribote, 297 F.2d at 603–04. As will be shown in due course, Salame is entitled to a

hearing, or at least to discovery on his claim for post-conviction relief.

II.    Salame’s Plea Agreement did not Waive This Challenge to his Conviction.

       Salame anticipates that the Government will argue that he waived this challenge through

the Agreement. The Government would be mistaken. The Second Circuit generally “interpret[s]

plea agreements under principles of contract law” but recognizes that, “unlike ordinary contracts,

plea agreements call for defendants to waive fundamental constitutional rights, and … that the

Government generally drafts the agreement and enjoys significant advantages in bargaining

power,” and accordingly “resolv[es] any ambiguities against the Government.” In re Altro, 180

F.3d 372, 375 (2d Cir. 1999). Applying those principles, Salame has not waived this challenge.

       Salame’s plea Agreement states in part:

       It is agreed (i) that the [Salame] will not file a direct appeal; nor bring a collateral
       challenge, including but not limited to an application under Title 28, United States
       Code, Section 2255 and/or Section 2241, of any sentence equal to or below the
       Stipulated Guidelines Sentence of 120 months’ imprisonment and (ii) that the
       Government will not appeal any sentence equal to or above the Stipulated
       Guidelines Sentence. This provision is binding on the parties even if the Court
       employs a Guidelines analysis different from that stipulated to herein. Furthermore,
       it is agreed that any appeal as to the [Salame]’s sentence that is not foreclosed by
       this provision will be limited to that portion of the sentencing calculation that is
       inconsistent with (or not addressed by) the above stipulation.

Agreement at 5 (both emphases added).




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       The waivers in this passage should be limited to their “literal terms.” United States v.

Schmick, 21 F.3d 11, 12 n.1 (2d Cir. 1994). For starters, that Salame agreed not to appeal or bring

a collateral challenge to his sentence does not foreclose a challenge to his conviction. This issue

is controlled by the Second Circuit’s decision in United States v. Hernandez, 242 F.3d 110 (2d Cir.

2001). In that case, Hernandez moved before sentencing to withdraw his guilty plea based on

ineffective assistance of counsel. The district court denied the motion and sentenced Hernandez.

Hernandez appealed, and on appeal the government “argu[ed] that the plea agreement forecloses

defendant’s right to take this appeal.” Id. at 113. The Second Circuit rejected that argument,

notwithstanding that the waiver in the Hernandez plea agreement was materially identical to the

waiver in Salame’s Agreement:

       It is further agreed (i) that the [Hernandez] will neither appeal, nor otherwise litigate
       under Title 28, United States Code, Section 2255, any sentence within or below the
       stipulated Guidelines range of 120-135 months and (ii) that the Government will
       not appeal any sentence within or above the Stipulated Guidelines range ….
       Furthermore, it is agreed that any appeal as to the [Hernandez]’s sentence that is
       not foreclosed by this provision will be limited to that portion of the sentencing
       calculation that is inconsistent with (or not addressed by) the above stipulation.

Id. (italics added by the Second Circuit). The Second Circuit held that the “plain” language of the

waiver “clearly” did not bar Hernandez’s appeal of his conviction:

       By the plain terms of this agreement, the waiver applies only to an appeal or motion
       to vacate regarding the defendant’s “sentence.” In this case, the defendant is not
       appealing any aspect of his sentence; he is appealing the denial of his motion to
       withdraw his guilty plea, an issue related to the merits of the underlying conviction.
       Therefore, the plea agreement clearly does not bar this appeal.

Id. (citation omitted). There is no material difference between Hernandez’s waiver and Salame’s

in this case. Hence, Salame, too, may collaterally challenge his conviction.

       Moreover, if there were any doubt about the scope of the Agreement’s waiver, the waiver

must be construed in Salame’s favor to allow this collateral challenge. The Second Circuit’s




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“precedents indicate that specifically in the context of claimed waivers of appellate rights plea

agreements are to be applied narrowly and construed strictly against the Government.” Hernandez,

242 F.3d at 113 (cleaned up). This rule of construction is “quite settled.” United States v. Mergen,

764 F.3d 199, 208 (2d Cir. 2014).

        At any rate, “[e]ven if the plain language of the plea [A]greement barred this” post-

conviction petition for relief, the Court should “not enforce such a waiver of … rights in this case

because” Salame “is challenging the constitutionality of the process by which he waived those

rights.” See Hernandez, 242 F.3d at 113.

III.    The Court Should Grant the Requested Relief Because the Government Failed to
        Honor an Implied Commitment that Induced Salame’s Plea.

        As shown above, there is ample authority confirming this Court’s authority to grant the

requested relief, and the first reason to do so is the Government’s failure to honor its implied

commitment not to pursue investigation of Bond if Salame accepted the government’s offer and

pleaded guilty. As noted, AUSA Sassoon strongly implied to Salame’s lawyers during plea

negotiations that the Government would “conclude” its investigation into Bond if Salame pleaded

guilty. Salame Decl. ¶ 6. There can be no doubt about that assurance, as all evidence points toward

its sincerity. AUSA Sassoon read from prepared talking points, confirming that her statement, “as

is often the case here, if we conclude as to Ryan, we would conclude this facet of the investigation,”

was not off the cuff. Id. ¶ 8. Salame, who was primarily focused on protecting the mother of his

child, responded by pleading guilty. Id. ¶ 12. And defense counsel, who have a wealth of

experience in this arena, understood this to be a sincere assurance and put their documents

collected from Bond in storage as soon as Salame executed the Agreement. Id. ¶ 9.

        Yet the Government failed to honor its commitment not to continue investigating Bond if

Salame accepted the government’s offer and pleaded guilty. Id. ¶ 13. He is therefore entitled to



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withdraw his guilty plea or to obtain specific performance—that is, termination of any

investigation into Bond and the dismissal of campaign-finance charges against Bond. See Spence

v. Superintendent, Great Meadow Corr. Facility, 219 F.3d 162, 174 (2d Cir. 2000) (“Ordinarily,

the remedy for the [government’s] breach of a plea agreement is either to enforce the bargain made

or to allow the defendant to withdraw his guilty plea.”); Taylor v. Kavanagh, 640 F.2d 450, 454

(2d Cir. 1981) (“Relief for misconduct committed during a plea negotiation includes the setting

aside of the plea or ordering specific performance of the agreement.”).

       1. In this Circuit, prosecutors are kept to their assurances, and the Court has an important

role in determining whether such assurances were made. The Second Circuit requires that, “when

a plea rests in any significant degree on a promise or agreement of the prosecutor, so that it can be

said to be part of the inducement or consideration, such promise must be fulfilled.” Delvalle, 94

F.4th at 268 (quoting Santobello, 404 U.S. at 262); accord United States v. Gotti, 399 F. Supp. 2d

252, 258 (S.D.N.Y. 2005) (“Notwithstanding [a] generic integration clause, if there was such a

promise, due process would require the Government to abide by it, provided that the promise in

fact induced” the guilty plea). This is true even “if [a] defendant ha[s] … received an undisclosed

promise from … the government.” Delvalle, 94 F.4th at 268. Furthermore, “a guilty plea … may

be invalidated”—that is, subject to withdrawal—“if it [wa]s induced by … misrepresentation[.]”

United States v. Nelson, 277 F.3d 164, 207 (2d Cir. 2002) (quotation marks omitted).

       Even where there is a written plea agreement, a court may still “inquir[e] into whether oral

promises may have induced a plea, thereby rendering it involuntary[.]”             United States v.

Cieslowski, 410 F.3d 353, 361 (7th Cir. 2005). The Second Circuit “ha[s] long recognized that

plea agreements are significantly different from commercial contracts. [Judicial] review of a plea

agreement is not limited to its four corners, and [courts] construe them strictly against the




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government.” United States v. Feldman, 939 F.3d 182, 189 (2d Cir. 2019) (quotation marks

omitted). This “relaxed approach to the parol evidence rule … applies even when a plea agreement

contains a merger clause[,]” where the court may still “consider the government’s oral and written

statements in [its] interpretive exercise.” Id. at 190. The Second Circuit confirmed as much in an

earlier case where a “written [plea] agreement contain[ed] an integration clause, explicitly

disclaiming the effectiveness of any prior oral representations.” United States v. Graves, 374 F.3d

80, 84 (2d Cir. 2004). In that case, the Second Circuit concluded that, “if [the defendant] was

induced to enter into the plea agreement by representations that were made and not intended to be

carried out, that sort of improper inducement might well provide a basis for invalidating the

agreement, or at least for permitting withdrawal of the plea.” Id.

       Moreover, just as a formulaic merger clause in a plea agreement does not allow the

government to escape accountability for oral assurances made to a defendant in order to secure a

guilty plea, a defendant’s “assurance to the … court at the time of the acceptance of his plea that

no promises had been made to him” does not always “overcome the evidence to the contrary,”

given the “pressures which unhappily but not uncommonly have induced such assurances.” U.S.

ex rel. Oliver v. Vincent, 498 F.2d 340, 342 n.1 (2d Cir. 1974). “[T]he federal courts cannot fairly

adopt a per se rule excluding all possibility that a defendant’s representations at the time his guilty

plea was accepted were so much the product of such factors as misunderstanding, duress, or

misrepresentation” as to invalidate the plea. Blackledge, 431 U.S. at 74–75. “An analogy is to be

found in the law of contracts.… [E]ven a … provision declaring that the contract contains the

complete agreement of the parties, and that no antecedent or extrinsic representations exist, does

not conclusively bar subsequent proof that such additional agreements exist and should be given




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force.’” Id. at 75 n.6. 3 As the Tenth Circuit explains, “[i]f the rule were otherwise, the strong

policy favoring full disclosure of plea agreements could be emasculated by boilerplate answers

and assurances that there were no agreements connected with the plea.” United States v. Blackner,

721 F.2d 703, 709 (10th Cir. 1983). Thus, where a defendant “asserted that his guilty plea had

been induced and coerced by promises … made by … an Assistant United States Attorney,” “[a]

pre-sentencing colloquy between a trial judge and defendant” was “not conclusive. The making

of such promises … in bad faith may be trickery so flagrant as to violate [his] constitutional rights.”

Trotter v. United States, 359 F.2d 419, 420 (2d Cir. 1966) (quotation marks omitted).

        Caselaw from other circuits is similar: Numerous courts have held that hearings were

necessary to adjudicate “post-sentence application[s] [that] inform[ed] … trial court[s], for the first

time, of … plea agreement term[s] that … prosecutor[s] allegedly failed to honor.” United States

v. Bullock, 725 F.2d 118, 119 (D.C. Cir. 1984); accord United States v. Hammerman, 528 F.2d 326,

331 (4th Cir. 1975) (“[The defendant]’s denial [at the allocution] of any inducement or

commitment leaves untouched our determination that the assistant prosecutor’s misrepresentation

induced the plea.”); Brown v. United States, 565 F.2d 862, 863 n.2 (3d Cir. 1977) (“Although [the

defendant] denied under oath the existence of any plea negotiations at the plea hearing, the record

does not preclude the possibility that such a bargain was in fact made. And this is especially so

since the trial court failed to ascertain whether the defendant had been instructed to respond

untruthfully.”); Dugan v. United States, 521 F.2d 231, 232–33 (5th Cir. 1975); Blackner, 721 F.2d

at 709 (“[T]he court did discuss with the defendant that he had no ‘assurances.’ However, because

the court was not informed of the Government’s agreement not to ‘say anything at the time of



3
 Although Blackledge predates the current Federal Rule of Criminal Procedure 11, “the advent of modern Rule 11
procedures” has not “robbed that decision of all currency.” Bemis v. United States, 30 F.3d 220, 223 n.3 (1st Cir.
1994).


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sentencing,’ … that … ‘… does not estop [the defendant] from seeking to withdraw his plea.’”

(quoting United States v. Roberts, 570 F.2d 999, 1007 (D.C. Cir. 1977)).

       Buttressing the foregoing principles is the rule that “the prosecution must shoulder the

burden of disclosing, in the first instance, all material information of plea agreements ….” United

States v. Abbott, 241 F.3d 29, 35 (1st Cir. 2001); see also United States v. Clements, 992 F.2d 417,

419 (2d Cir. 1993); Barbara J. Van Arsdale et al., Federal Procedure, Lawyers Edition § 22:975

(June 2024 update) (“Even though all parties have an obligation to disclose a plea bargain fully to

the court, the government has a compelling duty to fully disclose its offer ….”).

       Indeed, beyond the general enforceability of a prosecutor’s oral assurances, this case

implicates the more fundamental principle that the Government cannot take advantage of a bargain

induced by misleading representations. Even the circuits that apply a harsher policy against

enforcing oral conditions of otherwise-written plea bargains nonetheless agree that “[p]arol

evidence may be considered … where … government overreaching is alleged.” United States v.

Al-Arian, 514 F.3d 1184, 1191 (11th Cir. 2008). Overreaching, in the contract-law context, refers

to “[t]he act or an instance of taking unfair commercial advantage of another, esp. by fraudulent

means.” Black’s Law Dictionary (12th ed. 2024). Thus, “[p]roof of the Government’s refusal to

abide by … an oral promise” that induced a written agreement to plead guilty “would clearly

constitute evidence of ‘government overreaching’ or ‘fraud in the inducement,’ admissible without

running afoul of the parol evidence rule.” United States v. White, 366 F.3d 291, 295 (4th Cir. 2004)

(quoting United States v. Garcia, 956 F.2d 41, 44 & n.4 (4th Cir. 1992)); see also Townsend v.

Burke, 334 U.S. 736, 740 (1948) (“[T]his … defendant was … overreached by the prosecution’s

submission of misinformation to the court ….”).




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       At bottom, there can be no dispute that “the Government ought not be allowed to lure the

defendant into a plea on false information.” United States v. Battle, 447 F.2d 950 (5th Cir. 1971);

see also Hammerman, 528 F.2d at 330, 331 (“We view the prosecutor’s prediction as likely to

inculcate belief and reliance and therefore an essential element of the plea bargain.… It does not

matter that the prediction or promise was made in good faith ….”); United States v. Knights, 968

F.2d 1483, 1488 (2d Cir. 1992) (“Not only would it be unfair for the government to rely upon such

known, pre-agreement circumstances …, it would have been fraudulent to have induced a

defendant’s plea with a promise that the government already knew it was not going to keep.”).

       2. Yet the record in this case confirms that, by failing to abide by its assurances, the

Government did just that—inducing Salame to plead guilty and then failing to live up to its

assurances. Here, the Government informed Salame’s counsel, who in turn informed Salame, that

his acceptance of a plea bargain would also “conclude” the “facet” of the U.S. Attorney’s

investigation of Bond for alleged campaign-finance violations.        Salame Decl. ¶ 6. As the

Government no doubt understood, that “prediction … [w]as likely to inculcate belief and reliance

and therefore [was] an essential element of the plea bargain.” See Hammerman, 528 F.2d at 330.

Though the written Agreement and Salame’s plea allocution did not mention this assurance, AUSA

Sassoon told Salame’s counsel that the Government could not put the condition within the four

corners of the Agreement, which Salame took to mean that the commitment would be honored

without regard to whether it was aired in open court. Salame Decl. ¶ 11. But the Government later

failed to honor that commitment when it continued to investigate and pursue charges against Bond.

Salame is entitled to hold the Government to its assurance by either withdrawing his plea or

obtaining an order directing specific performance.




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       As noted above, that Salame’s “plea [A]greement contains a merger clause” is not

dispositive; “the merger clause is not ironclad and [a court] consider[s] the government’s oral and

written statements in [its] interpretive exercise.” See Feldman, 939 F.3d at 190. Even if the

Government’s assurance had been akin to a mere “expression of optimism” regarding its

investigation into Bond, Salame would nonetheless be entitled to some relief if the Government’s

representation “was misleading … [T]he government may not … rely exclusively on omissions

of prior undertakings and representations from the four corners of the written agreement as

effective nullification of them.” Id. Indeed, Feldman is just one of multiple cases in which

prosecutorial statements falling short of firm “promises” were held to constitute enforceable

inducements of guilty pleas. See Graves, 374 F.3d at 85 (“[W]e feel compelled to return this matter

to the District Court for a factual inquiry as to exactly what was said about ‘proactive cooperation,’

what understanding was reasonably conveyed to the Defendant concerning the cooperation.”);

Battle, 447 F.2d at 951 (holding that defendant accepting guilty plea was entitled to hearing on his

argument “that the essence, though admittedly not unambiguous, of these conversations was that

a light, if not minimal, sentence was in order and that the Government would not ask for … more”);

United States v. Singleton, 47 F.3d 1177 (Table), 1995 WL 66792, at *3 (9th Cir. 1995) (“[The

defendant] could have reasonably believed the terms of his plea agreement to include immunity

from grand jury subpoenas.”); Hammerman, 528 F.2d at 330 (“We view the prosecutor’s prediction

as likely to inculcate belief and reliance and therefore an essential element of the plea bargain.”);

cf. Correale v. United States, 479 F.2d 944, 947 (1st Cir. 1973) (“Prosecutorial misrepresentations,

though made in good faith, even to obtain a just, and here a mutually desired end, are not

acceptable.… Nor are contradictory or confusing statements of the law adequate.”).




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       Similarly, that Salame disclaimed during his plea colloquy that other promises were made

is “not conclusive.” Trotter, 359 F.2d at 420 (quoting U.S. ex rel. McGrath v. LaVallee, 319 F.2d

308, 314 (2d Cir. 1963)); accord Oliver, 498 F.2d at 342 n.1. As one appellate court noted in an

appeal from a post-conviction proceeding, “[w]hile [the defendant’s] responses to the questions

posed by … the district attorney during the colloquy appear to conclusively negate [the

defendant’s] allegations in his habeas petition, total reliance on the colloquy is misplaced …. ‘The

possibility exists that an inherent part of the out-of-court understanding was that [the defendant]

would respond negatively to an open court inquiry as to whether promises had been made.’” Zilich

v. Reid, 36 F.3d 317, 322 (3d Cir. 1994) (quoting United States v. Valenciano, 495 F.2d 585, 587

(3d Cir. 1974)); accord Brown, 565 F.2d at 863 n.2; Hammerman, 528 F.2d at 331 (recognizing

“possibility that fear that a truthful response might jeopardize the [plea] bargain may well produce

an answer [at the plea allocution] that is false”). As Salame intends to show if afforded a hearing

or discovery, that is what happened here.

       3. In light of the record showing that the Government made assurances to induce a plea

and then failed to follow through, Circuit precedent confirms that a hearing, or at least discovery,

is required. Courts have held that several types of evidence may suffice to entitle a defendant to a

hearing regarding undisclosed assurances or commitments by the government that the defendant

alleges induced his or her guilty plea. For instance, “the prosecutor’s own remarks at the plea

allocution” may give rise to “factual issues … as to whether [the defendant] was led to believe”

that there were other commitments or assurances undergirding his or her plea arrangement, Graves,

374 F.3d at 85, as may other concessions by prosecutors, Feldman, 939 F.3d at 188, 190; see also

Peavy v. United States, 31 F.3d 1341, 1345 (6th Cir. 1994); United States v. Raifsnider, 663 F.3d

1004, 1010 (8th Cir. 2011); Blackner, 721 F.2d at 708. Likewise, in another case, the “parol




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evidence c[ame] … from the district court’s own observation of the plea negotiations.… [T]he

district court concluded that [the defendant’s] agreement to plead guilty was influenced by his

understanding that he would not be required to cooperate with the Government,” which “had an

obvious effect on [his] understanding of the terms of the signed plea agreement.” Singleton, 1995

WL 66792, at *3.

       But neither a government concession nor an on-the-record statement by the district court

is necessary to secure a hearing as to the existence of an undisclosed term or commitment of a plea

bargain. For instance, the Fourth Circuit confirmed in a § 2255 proceeding that such a hearing

was warranted notwithstanding the plea agreement’s integration clause:

       Although neither defense nor Government counsel has directly attested under oath
       to the existence of an oral agreement (nor were they questioned about the agreement
       during the Rule 11 hearing), both have made express representations in their court
       submissions, acting as officers of the court, and those representations directly
       contradict each other. When, as here, the factual allegations “relate[] primarily to
       purported occurrences outside the courtroom and upon which the record could,
       therefore, cast no real light,” and where the ultimate resolution rests on a credibility
       determination, an evidentiary hearing is especially warranted. Accordingly, we
       remand for an evidentiary hearing on the question of whether the Government did
       make the alleged oral promise that [the defendant’s] plea was conditional,
       permitting him to appeal denial of the suppression motion.

White, 366 F.3d at 302 (quoting Machibroda v. United States, 368 U.S. 487, 494–95 (1962));

accord Gotti, 399 F. Supp. 2d at 258 (deciding “the question of whether the Government induced

[the defendant’s] guilty plea by means of an oral promise or representation not reflected in the

written agreement” only after “[the AUSA] and [the defendant’s counsel], who were the lead

negotiators as the parties neared a plea agreement, have each submitted affidavits concerning their

respective recollections of any oral promises or representations ….”).

       Elsewhere, the Fifth Circuit held that, although at “the guilty plea hearing,” “the district

court questioned both defendants and their lawyers as to whether any promises in connection with




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their pleas had been made and received negative replies,” “[a]n evidentiary hearing [wa]s required

to explore [the defendant’s] contention that his guilty plea resulted from an unkept plea bargain”:

“When [a] petitioner goes beyond mere allegations by presenting credible affidavits that raise a

substantial inference that an unkept bargain was in fact made, § 2255 requires an evidentiary

hearing.” Dugan, 521 F.2d at 232–33, 234, 233. 4 The takeaway from this body of caselaw is that,

as one court put it, “[i]f the allegations … go[] beyond matters covered in the Rule 11 proceedings

or [a]re supported by credible affidavits that raised substantial inference that an unkept plea bargain

was in fact made, section 2255 … ordinarily require[s] a hearing.” United States v. Williams, 536

F.2d 247, 250 (8th Cir. 1976).

         Here, Salame has put forth enough to warrant a hearing, or at least discovery, on whether

an oral assurance by the government regarding the campaign-finance investigation into Bond

induced Salame’s guilty plea. Per the Second Circuit, a coram nobis petitioner’s “allegations”

need only “cross [a] rather low threshold [to] entitl[e] him to an evidentiary hearing on his petition

….” Keogh, 391 F.2d at 142. Salame easily clears that threshold: “[H]is petition alleges facts

which would support a claim of deprivation of constitutional right, and some material issue of fact

is in dispute.” Shen, 2023 WL 4978104, at *5 (quoting Tribote, 297 F.2d at 600). The sworn

affidavits that accompany the instant petition establish, at the very least, a “material issue of fact.”

         Moreover, although this Court “is not ‘obliged to accept as facts mere conclusory

allegations,’” the Court “must, in deciding whether [petitioner] is entitled to a hearing, assume the



4
  Similarly, the Third Circuit held that a habeas petitioner was entitled to an evidentiary hearing on whether the
prosecution had made undisclosed assurances to secure his guilty plea, even though he denied the existence of such
promises during the plea colloquy—since that petitioner “offered specific testimony that, if true, would negate the
voluntariness of his plea and establish that he pled guilty only because of a belief he would receive probation in return
for waiving his right to trial.” Zilich, 36 F.3d at 321; see also Brown, 565 F.2d at 863 n.2 (reaching same conclusion
because “[t]he specific allegations of the complaint” seeking post-conviction review, “viewed against the record
established at the … plea hearing are not so ‘palpably incredible’ as to warrant summary dismissal of the petition on
the basis of the pleadings” (quoting Blackledge, 431 U.S. at 76)).


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facts alleged to be true.” Shen, 2023 WL 4978104, at *5 (quoting Tribote, 297 F.2d at 601).

Salame’s allegations are more than sufficient in this respect. According to the Supreme Court and

the Second Circuit, a defendant’s post-conviction “allegations that [a] plea was induced by an

unkept promise [a]re not vague or conclusory where,” as here, “the motion ‘indicate[s] exactly

what the terms of the promise were; when, where, and by whom the promise had been made; and

the identity of one witness to its communication[.]’” Gonzalez, 722 F.3d at 131 (emphasis omitted)

(quoting Blackledge, 431 U.S. at 76). Indeed, such “assertions … warrant discovery or a hearing”

even in the face of contradictory “admissions made by the defendant at his plea hearing ….” Id.

       Alternatively, even if this Court concludes that a live hearing is not yet warranted, the Court

should at least take the “permissible intermediate step” of “requiring that the record be expanded

to include letters, documentary evidence, and, in an appropriate case, even affidavits.” Chang,

250 F.3d at 86 (quoting Raines v. United States, 423 F.2d 526, 529–30 (4th Cir. 1970)). Indeed, in

a case holding that a coram nobis petitioner was not entitled to a live hearing, the Second Circuit

explained that the district court considering the petition at least “had the benefit of … [the

petitioner’s] moving affidavit, counter-affidavits filed by the government, and various exhibits

including copies of correspondence between [the petitioner’s] counsel and the government prior

to [his] change of plea.” Carlino, 400 F.2d at 58; see also Wolfson, 558 F.2d at 65–66. In this

case, some discovery would likely be required to obtain such documentary evidence.

       For these reasons, Salame is entitled to a hearing, or at least to discovery, on his claim that

his plea was induced by the government’s unkept assurance that it would not pursue the campaign-

finance charges against Bond. “[C]oncern for efficiency must not outweigh our concern for

individual rights,” and thus a court should not “refuse a hearing” simply because the court thinks

it “improbable that a [petitioner] can prove his claims.” Tribote, 297 F.2d at 603–04.




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IV.    Alternatively, the Government’s Conditioning of its Decision on Whether to Prosecute
       Bond on Salame’s Acceptance of the Plea Arrangement was Improper.

       Alternatively, the Government acted improperly by making the assurance in the first place.

As the Second Circuit confirms, a guilty plea” also “may be invalidated if it is ‘induced by …

promises that are by their nature improper.’” Nelson, 277 F.3d at 207 (quoting Brady v. United

States, 397 U.S. 742, 755 (1970)). In this case, even if the Government’s suggestion that it would

not prosecute Bond was not an aspect of Salame’s plea bargain, that implied commitment was

improper by nature and is grounds for him to withdraw the plea. Indeed, when viewed through

the lens of the distinct power imbalance between a prosecutor and the subject of an investigation,

such inducements are particularly inappropriate.

       1. The Supreme Court has long been skeptical of a prosecutor using his or her position to

make assurances about third parties to induce pleas. In fact, the Supreme Court flagged this issue

almost 50 years ago, noting that “a prosecutor’s offer during plea bargaining of adverse or lenient

treatment for some person other than the accused … might pose a greater danger of inducing a

false guilty plea by skewing the assessment of the risks a defendant must consider.”

Bordenkircher, 434 U.S. at 364 n.8. That is no doubt why the “general consensus” among federal

courts of appeals is “that guilty pleas made in consideration of lenient treatment as against third

persons pose a greater danger of coercion than purely bilateral plea bargaining, and that,

accordingly, ‘special care must be taken to ascertain the voluntariness of’ guilty pleas entered in

such circumstances.” United States v. Nuckols, 606 F.2d 566, 569 (5th Cir. 1979) (emphasis added)

(quoting United States v. Tursi, 576 F.2d 396, 398 (1st Cir. 1978)). “A plea negotiation that

includes a benefit to a third person can place pressure on a defendant in two respects. The

defendant feels the weight of his own concern to have the benefit conferred and also endures the

entreaty of the third person who is anxious to receive the benefit.” United States v. Marquez, 909



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F.2d 738, 742 (2d Cir. 1990). Understanding this power imbalance, the Fourt Circuit highlights

that “prosecutors [must] exercise a high standard of good faith in negotiating such pleas,” and

“courts accepting such pleas [must] examine them carefully to insure that the accused understands

the plea agreement and the consequences not only to himself, but to such third persons as may be

affected ….” Harman v. Mohn, 683 F.2d 834, 838 (4th Cir. 1982).

       Nevertheless, the Second Circuit has not proscribed such bargains across the board but has

instead held that “[t]he inclusion of a third-party benefit in a plea bargain is simply one factor for

a district court to weigh in making the overall determination whether the plea is voluntarily

entered.” Marquez, 909 F.2d at 742. In evaluating a such condition, several criteria are relevant.

       First, “[w]here the plea is entered after the prosecutor threatens prosecution of a third party,

courts have afforded the defendant an opportunity to show that probable cause for the prosecution

was lacking when the threat was made.” Id. Indeed, “a defendant may successfully challenge the

voluntariness of his plea by showing that probable cause to prosecute the third party did not exist

at the time the defendant pleaded guilty, even if the Government had probable cause to prosecute

at an earlier time.” United States v. Seng Chen Yong, 926 F.3d 582, 592 (9th Cir. 2019). For

example, in a case where, “[a]t the [post-conviction] evidentiary hearing, [a defendant] offered

evidence plausibly showing that the prosecution never had the requisite probable cause” to charge

the third party and “the government merely averred that the prosecution had acted in good faith,”

the Tenth Circuit held that a remand was necessary, explaining that “there [wa]s no evidence from

which to conclude that the prosecution had probable cause to indict those persons it allegedly

threatened to indict.” United States v. Wright, 43 F.3d 491, 499 (10th Cir. 1994); see also United

States v. Daniels, 821 F.2d 76, 80–81 (1st Cir. 1987) (similar); United States v. Abbott, 241 F.3d

29, 35–37 (1st Cir. 2001) (similar); United States v. Whalen, 976 F.2d 1346, 1349 (10th Cir. 1992)




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(similar); Crow v. United States, 397 F.2d 284, 285 (10th Cir. 1968) (“Relief is sought … on the

grounds that officers threatened the prosecution of another person unless appellant pleaded guilty

.… A hearing must be held to determine the issue of voluntariness unless the files and records of

the case show conclusively that the plea was knowingly and voluntarily entered.”).

       Conversely, the Second Circuit held in another case that a plea condition that threatened a

third party (the defendant’s wife) was permissible, but only after the Second Circuit noted that the

court in which the defendant was convicted had already “conducted a thorough Rule 11

allocution.” Marquez, 909 F.2d at 742–43. In that case, the Second Circuit noted that “the facts

concerning the involvement of defendant’s wife in the criminal activity and the extent of her

benefit were fully aired before the District Court when she and her husband entered their pleas at

the same hearing. Both were ably represented by separate counsel.” Id. Of course, there has been

no such “air[ing]” of the facts here. Similarly, a court in this district held that a plea secured by a

threat to prosecute a defendant’s daughter was valid because it fulfilled certain criteria:

       Both the [defendant] and her daughter had already been arrested and indicted by
       the time the government began its plea negotiations with the petitioner. [Her
       daughter] was indicted for eight separate felony offenses. [The defendant] does not
       even challenge the underlying prosecution of her daughter as not being in good
       faith. She merely asserts that by making her daughter’s plea contingent upon her
       guilty plea, the government forced her to make an involuntary plea. All of the
       details of the plea were freely discussed in open court. [The daughter’s] attorney
       made a statement representing his own agreement with the terms of the plea bargain
       negotiated between petitioner and the district attorney. The court was fully aware
       of the circumstances of the plea and repeatedly sought to ascertain [the defendant’s]
       state of mind as to her decision to accept its conditions.

Allyn v. Comm’r of Corr. Servs., 708 F. Supp. 592, 594 (S.D.N.Y. 1989). Again, there has been no

similar investigation into the Government’s assurances here.

       2. This authority confirms that, at a minimum, the Court should conduct a hearing or permit

Salame to engage in discovery to afford him an opportunity to show that, judged according to the




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foregoing guidelines for third-party-related conditions in plea bargains, the Government’s implied

condition regarding the campaign-finance charges against Bond was improper.

       First, there was no mention during Salame’s plea allocution of the government’s intention

not to pursue campaign-finance charges against Bond if Salame accepted the plea arrangement.

See generally Dkt. No. 283. Thus, it cannot be said that “the facts concerning the involvement,”

if any, “of [Bond] in the criminal activity” to which Salame pleaded guilty “and the extent of her

benefit were fully aired before the District Court,” which is a relevant consideration in determining

whether a third-party-related plea condition is permissible. See Marquez, 909 F.2d at 742–43; cf.

Harman, 683 F.2d at 838 (“[C]ourts accepting such pleas [must] examine them carefully to insure

that the accused understands ….”); Allyn, 708 F. Supp. at 594 (“All of the details of the plea were

freely discussed in open court.”); Crow, 397 F.2d at 285–86; Abbott, 241 F.3d at 35–37. Another

consideration underscoring the impropriety of the government’s third-party condition in this case

is that Bond was not involved in the conduct to which Salame pleaded guilty. Salame pleaded

guilty to campaign-finance-related charges, but those charges differ substantially from the

violations of which Bond is accused. See Salame Decl. ¶ 5; Nuckols, 606 F.2d at 570 (holding that

fact-finding hearing was necessary as to propriety of plea arrangement because “[t]here is no

evidence indicating that appellant’s wife was an accomplice to appellant’s criminal conduct, or

implicated in any other that would have justified her prosecution”); cf. Marquez, 909 F.2d at 742–

43 (“[T]he facts concerning the involvement of defendant’s wife in the criminal activity and the

extent of her benefit were fully aired before the District Court ….”). Furthermore, unlike situations

in which courts have approved third-party-connected conditions in plea arrangements, Salame and

Bond had the same counsel at the time Salame entered his plea. See Salame Decl. ¶ 7; cf. Marquez,

909 F.2d at 743 (“Both [the defendant and the third party] were ably represented by separate




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counsel.”); Harman, 683 F.2d at 837–38 (“[The defendant] was represented by separate counsel,

so there can be no claim that an attorney sacrificed one client to free another.”); United States v.

Usher, 703 F.2d 956, 958 (6th Cir. 1983).

       In sum, because the Government “threatened the prosecution of another person”—Bond—

“unless [Salame] pleaded guilty,” and because the “records of the case” do not “show conclusively

that the plea was knowingly and voluntarily entered” according to the criteria of voluntariness

discussed above, “[a] hearing must be held,” or at least discovery must be allowed, “to determine

the issue of voluntariness.” See Crow, 397 F.2d at 285.

                                       PRAYER FOR RELIEF

       WHEREFORE, Salame prays this court grant the following relief:

       (i)     An order dismissing with prejudice any indictment of Michelle Bond for the

               campaign-finance offenses the investigation of which was supposed be

               concluded by Salame’s guilty plea in this case;

       (ii)    Alternatively, if the foregoing relief is not granted, an order vacating and

               setting aside the judgment of conviction entered against Salame on May 28,

               2024;

       (iii)   An order scheduling a fact-finding hearing on the allegations in the instant

               petition; or

       (iv)    An order permitting the parties to take discovery on the allegations in the

               instant petition; and

       (v)     Any other and further relief as this Court may deem just and proper.




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August 21, 2024                           Respectfully submitted,

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